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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


In re:                                                 §
                                                       § CASE NO. 18-56209-jwc
L’Tanya Rosanna Bellille                               § CHAPTER 13
aka L’Tanya R. Bellille                                §
                                                       §
            Debtor                                     §

Bridgecrest Credit Company, LLC,                       § CONTESTED MATTER
                                                       §
          Respondent                                   §
v.                                                     §
L’Tanya Rosanna Bellille, Debtor                       §
                                                       §
Nancy J. Whaley, Trustee                               §
                                                       §
                                                       §

                            AMENDED OBJECTION TO CONFIRMATION

         COMES NOW, Bridgecrest Credit Company, LLC, (BCC) and makes and files its Objection to
the Confirmation of the Debtor’s Chapter 13 case for the reasons set forth below:


                                                      1.
         BCC, holds a first priority lien on the Certificate of Title to the Debtor’s 2007 Infiniti G35, VIN:
JNKBV61E67M706320.
                                                      2.
         The Debtor’s plan values BCC’s collateral in the amount of 6,950.00, with an interest rate of
5.50%, monthly payments in the amount of $50.00 increasing to $225.00 in 6/2020.


                                                      3.
         BCC’s claim is approximately $18,888.61 with a contractual interest rate of 22.790%.


                                                      4.
         The Debtor’s proposed monthly payment and interest rate are insufficient to provide BCC, with
adequate protection.
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       THEREFORE, based upon the above and foregoing facts BCC objects to the confirmation of the
Debtor’s Chapter 13 case.

       This June 15, 2018
                                             Respectfully Submitted

                                             /s/ Richard B. Maner
                                             Richard B. Maner, GA Bar No. 486588
                                             Attorney for Respondent
                                             5775 Glenridge Drive, Building D, Suite 100
                                             Atlanta, GA 30328
                                             Phone: (404) 252-6385, Fax: (404) 252-6394
                                             Email: rmaner@rbmlegal.com
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                                    CERTIFICATE OF SERVICE

        This is to certify that I have served a copy of OBJECTION TO CONFIRMATION
electronically. Those not served electronically have been served by depositing same in the United States
Mail in a properly addressed envelope to each with adequate postage thereon as follows:

L’Tanya Rosanna Bellille
PO Box 1014
Rex, GA 30273

Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III- Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Nancy J. Whaley
Nancy J. Whaley, Standing Ch 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303



        This June 15, 2018
                                                /s/ Richard B. Maner
                                                Richard B. Maner, GA Bar No. 486588
                                                Attorney for Respondent
                                                5775 Glenridge Drive, Building D, Suite 100
                                                Atlanta, GA 30328
                                                Phone: (404) 252-6385, Fax: (404) 252-6394
                                                Email: rmaner@rbmlegal.com
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